IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

GULF COAST ENVIRONMENTAL
SYSTEMS, LLC

Plaintiff,

v.
Civil Action No. 4:11-cv-02753
AMERICAN SAFETY INDEMNITY
COMPANY and ENDURANCE
AMERICAN SPECIALTY INSURANCE
COMPANY

COC>DMOOOWDCM¢MCMCMW>WDWOMOOO

Defendants.

 

DEFENDANT ENDURANCE AMERICAN SPECIALTY INSURANCE C()MPANY’S
M()TI()N FOR SUMMARY JUDGMENT

 

TO THE UNITED STATES DISTRICT JUDGE KEITH ELLISION:

Pursuant to Federal Rule of Civil Procedure 56, Defendant, Endurance American
Speeialty Insurance Company (“Endurance”) files this motion for summary judgment On all
claims asserted by Plaintiff, Gulf Coast Environmental Systems, LLC (“Gull” Or “Plaintifl”) and
Would respectfully show the Court as follows:

I. INTRODUCTION

This is 3 liabili§y insurance eever§ge dispn€e. Eneiurarzee flies 505 seminary judgmeni
based en its generai denials specific denials7 and affirma§ive defenses asserted in response in
Guli"s claims far declaratory relief and under TeXas lnsurance COde Seetinn 5~42,@5§,
Endurance ewes no defense <;)r indemnity to Gulf for claims in the underlying Pennsylvania suit

Gulf has sued the wrong party lie any liability policy provides cevei'age for this loss, ii is

the policy issued by defendant Ameriean Safety lndemnity Company, the insurer issuing the

f)se\§><,>~ 3

policy immediately before the Endurance policy. The American Safety policy covered the
period from l\/larch 8, 2009 to l\/lay 26, 2010, While the Endurance policy began l\/lay 26, 2010.
The underlying complaint alleges, and the record evidence conclusively establishes that the
claim against Gulf vvas anticipated - and in fact made - Well before the Endurance policy began.
In fact, the underlying lawsuit for Which Gulf seeks coverage vvas filed more than two Weeks
before the Endurance policy Was issued. The record contains multiple communications and
technical reports establishing that Gulf had knowledge of the claim far in advance of the June l}
20l0 issue date and the l\/lay 26, 2010 effective date of the Endurance policy Not surprisingly,
the Endurance policy precludes coverage for claims that Were anticipated before the policy

57

incepted. Similarly, Texas law precludes coverage for such a “known loss. Coverage is also
precluded due to the related fact that, in its policy application, Gulf averred that it knew of no
such claims before the policy incepted but that Was not true. Thus, Whatever the merits may be
of Gulf` s claim against the prior policy issued by Arnerican Safety, seeking coverage under the
Endurance policy is akin to asking for homeowner’s insurance vvhile one’s house is afire.
Coverage is precluded for yet another reason. Gulf has sued under two separate
coverages issued by Endurance -~ general liability and professional liability The underlying
claim alleges that Gulf improperly designed the product in question; Gulf` s claim for coverage is
rooted in professional negligence The complaint does not seek liability because of “property
damage” las would be required under the general liability poliey) but, rather, seeks damages due
to the faulty design, exclusively alleging claims for professional negligence based on defective
design, "'breach of contract” (and unjust enrichment); there is no allegation that the faulty design

caused any independent property damage to, for instance, any other product Therefore§ there

can be no coverage under the general liability policy

l»i()§?§i'i}ls¥é§§§} 2

l\~l

Thus, coverage is barred under the Endurance policy not only because the claim predated
the policy, but also because the claim fundamentally is a breach of contract/breach of implied
warranty-type claim that simply does not come under the coverage of these types of policies, as
rnunmpusexdu$onssosnne.lnsunn(hnfscknnw\nnkrbodidwlN;Pohcyandthe(HiPohcy
are precluded as a matter of lavv.

Therefore, by this Motion, Endurance seeks a dispositive ruling pursuant to Federal Rule
of Civil Procedure 56 that no coverage exists under the Endurance Policy.

H. SUWMARYJUDGMENTSTANDARD

Federal Rule of Civil Procedure 56 requires summary judgment if the evidence shows
there is “no genuine issue as to any material fact.” FED. R. ClV. P. 56(c). A defendant moving
for summary judgment must only present evidence disproving “the existence of any essential
element of the opposing party’s claim.” Fomenot v. Upjohn Co., 780 F.2d 1190, ll94 (5“‘ Cir.
1986). Disputes over irrelevant, immaterial or unnecessary facts vvill not render summary
judgment inappropriate Anderson v. Lz'berly Lobby, Iz/zc., 477 U.S. 242, 247-48 (1986).

Summary judgment under Rule 56 is also appropriate against a party Who fails to produce
evidence on an essential element of a claim on Which that party has the burden of proof Celotex
Corp. v. Cafrett, 477 U.S. 3l7, 322 (1986); Pe)mz`ngton v. Vz`s'lron Corp,, 876 F.2d 414, 425 (Sth
Cir. l989). ln the context of summary judgment in an insurance coverage case, the insured must
produce evidence that raises a question of material fact as to the existence of a covered claim
Roya! Srzrp€as Lirzes insg Co. tx Broafrzst>i!§e naacp Seii. Dis§,, 404 F. Supp. 2d 042, §}si§l (SD.

T`ex. 2005).

iiii>if§i'§)t\€/»i§??§§.§

md

III. SUMMARY JUDGMENT EVIDENCE
This l\/lotion relies on the pleadings filed in this action and the following summary
judgment proof filed contemporaneously vvith this Motion, Which is incorporated by reference
herein:
Exhibit A: First Amended Complaint dated Feb. l6, 2012: Pz`ramal Crz'tz`cal Care,
Inc. v. 61sz Coasr Environmenml Sysrem's, lnc., Cause No. C-4S-CV-
2010-4715, ln the Court of Common Pleas, Northampton County,
Pennsylvania. [Certified Copy]

Exhibit B: Declaration of l\/larc Beckerman.
Exhibit B-l: Documents Bates numbered Endurance 0000001 to 0001099.

Exhibit C: Summons dated May 12, 2010: Piramal Crilz`cal Care, lnc, v. Gu[fCoasI

Environmenta[ Systems, lnc., Cause No. C-48-CV-20l0~47l5, ln the
Court of Common Pleas, Northampton County, Pennsylvania. [Certified

COi>yl

Exhibit D: Complaint [Original] dated l\/Iay 12, 2010: Pimmal Criticcll Care, Inc. v.
Gulf Coast Envz'ronmental Systems, Inc., Cause No. C~48-CV-2010~4715,
In the Court of Common Pleas, Northampton County, Pennsylvania.

[Certified Copy]

IV. STATEMENT OF FACTS

Endurance issued a package Commercial General Liability (“GL”), Contractors Pollution
Liability, and Professional Liability (“PL”) insurance policy (policy number ECClOlOl0501-00
(the “Endurance Policy”)). The effective date of the Endurance Policy is May 26, 2010. See P.’s
Orig. Compl, for Decl. Judgment at §ll6 (liereinafter “Cornpl.”), Ex. C~l at p. 2.} The relevant
coverage is the Pii policy, Clairns affade fortn, and the GL poliey, to the extent that Gulf is

alleging property damage as opposed to professional negligence (a contention not supported by

the record). 'l`he Endurance Policy contains Professional Liability Limits of $l million for Each

 

l On the face of the policy, there is a retroactiveg hand written date of March S, 2009 id The Complaint

states that "Plaintiff" s copies carry handwritten notes of uncertain origin5 but Plaintiff s claims are not based on the
handwritten notes . . . , "t`ne exact page ordering of the varions subparts and endorsements is uncertain, but is not
material.” Compl. at ‘§ 9.

i'l{§§l§$/§`§>N»”€§Y§Z 2 §§

Occurrence, Wrongful Act or Claim; and $l million Claims Expense Limit for each Claim. The
Retroactive Date for Professional Liability coverage is March 8, 2009. Id. This is shown by a
handwritten notation modifying the date from l`vlay 26, 2010 to March 8, 2009. See id. at p. 5.
This retroactive date applies only to the PL Policy and not to the GL Policy.

A. The Underlying Pennsylvania Lawsuit.

The underlying suit for which Gulf seeks coverage under the Endurance Policy was filed
on l\/lay l2, 2010 and is styled Pz`mmal Critl`cal Care, Inc. v. GulfCoaSl‘ Envz`ronmenml Syslems,
Inc., Cause No. C-48~CV~2010-47l5, in the Couit of Common Pleas of Northampton County,
Pennsylvania (the Pennsylvania Lawsuit.”). See Ex. D. The First Amended Complaint (the
“Pennsylvania Complaint”) Was filed nearly two years later on February 16, 2012 alleging that
Gulf improperly designed, installed, and repaired an air pollution scrubber or oxidizer referred
to as the “regenerative thermal oxidizer” or “RTO.” Ex. “A” at ll 5. The RTO is used in medical
device manufacturing facilities

The contract between Gulf and Plaintiff Piramal Critical Care, lnc. (the “Pennsylvania
Plaintiff’) for the RTG unit is dated June 8, 2009. See id. at ll 6. The contract required Gulf to
“manufacture, deliver and install” the RTO unit at the Pennsylvania Plaintiff s medical facility
for total compensation of 3810,200. See id The contractual agreement between the parties
consists of a purchase order, contractual terms and conditions, and Gulf s initial proposal or bid
See id atill S. Gulf’ s proposal included Golf s “design considerations.” See ial atll illd

Gulf’s knowledge and discovery of the issues or events relating to the RTO is established
both by the allegations in Pennsylvania Complaint and ample correspondence and testing relating
to deficiencies in the RTO unit in March, April, and l\'lay 2010. The Pennsylvania Complaint

alleges that the RTO visas defective from the date of original installationz February 26, 2010. Sea

§§GZ§S§`{ENYB§§§Z.Z 3

id. at fm 10, 16 (“[F]rom February 26, 20l0 to date the RTO has failed to properly function
despite numerous efforts by both Pirimal and Gulf to repair and/or modify the equipment.”) The
RTO was never successfully commissioned See z'd. at H 15. The Pennsylvania Complaint
continues:

In late April 2010, the parties determined that the reason that the

RTO failed to properly function was because Gulf Coast failed to

properly design the RTO . . . . On April 25, 2010 Gulf Coast

advised Pirimal that it was not responsible for the failed design . . .
See id. at W l7, 20 (emphasis added). The Pennsylvania Complaint concludes that Gulf did not
deliver a properly functioning RTO and scrubber and refused to cure or repair the RTO at its
own cost. See id. at ll 23.

These allegations are supported by extensive communications between Gulf and the
Pennsylvania Plaintiff during this time period See generally EX. B-l.

As a result, the Pennsylvania Plaintiff asserted causes of action against Gulf for Breach of
Contract based on an alleged failure to satisfy regulatory or Pennsylvania Department of
Environmental Quality (“PADEP”) requirements (Count l), breach of contract for failure to
perform under the parties’ contract (Count ll), breach of contract for failure to satisfy the express
contractual warranties (Count IH)g quantum meruit and unjust enrichment (Count IV),
professional negligence based on the design and manufacturing of the RTO unit (Count V), and
professional negligence based on the design and manufacturing of the RTO"`s scrubber fCount
‘\Fi:;; See geaerct!§t) EX. A,

B. The Endurance Insuranee Policies
The relevant sections of the Endurance Poiicy are the Professionai Liability (“PL”) poiiey

coverage and the Commercial General Liability (“GL"') policy or coverage

iii§§e? S‘?f.}i\§/a§%l§ §

l. The PL Policy
The RTO unit failure for which Gulf seeks coverage under the PL Policy is not within the
scope of the Endurance Policy and is excluded from coverage by one or more exclusions,
including but not limited to an exclusion titled, “Professional Liability Policy ~ Claims Made.”
This Exclusion reads:

[Endurance] shall have no obligation whatsoever under this policy
to make any payment of any kind for either damages, claims
expense, or any coverage or payment provided pursuant to Seetion
l.B., Supplementary Coverages and Payments, or to arrange for,
provide, or pay, for any defense, for:
[. . . .]
I. Any claim arising from any of the following relative to any
contract any insured has entered into with a client:
l. Any assumption of the client’s sole negligence or
legal liability by the insured; or
2. any failure by any insured to perform or provide a
good or service by a date stipulated in a contract with a
client; or
3. Any liquidated or stipulated damages under a
contract with a client of any insured, unless the same type
of damages would attach without the existence of the
contract
See Compl., Ex. C, § III.V.l (1-3) at p. 51. The effective date of the PL Policy is l\/Iay 26, 2010,

which is retroactively modified by a handwritten notation to l\/larch 8, 2010. See z`d. at p. 2. The
retroactive effective date applies only to the PL Policy and does not abrogate Gult` s duty to
disclose its knowledge ofa pending claim. Id.

The PL. Policy also required Gulf to disclose any knowledge of circumstances that could
give rise to a claim. Section l.Al§. states that Endurance “only” will pay damages under the
policy “[ilf on the effective date of this policny no insured had knowledge of any circumstances
which could reasonably be expected to give rise to a claim.” See icf. at p. 43 Similarly, the PL
Policy required Gulf to disclose the possibility of the claim during the application process under

Question 2l on the Endnrance sixppiication. See Ex. B-l at Endurance 000003l~36. Gulf, in

§'§§}ij §§‘§`i}i‘i/a:i‘£*§§ l 2

completing the Application, stated it has no knowledge of any circumstances that may lead to an
occurrence under the Endurance Policy. Id. at Endurance 0000034, Q. 21.
2. The GL Policy

The GL Policy contains similar provisions relating to coverage For example, Section
l.A.l.B. states that the policy provides no coverage where the insured “becomes aware by any
other means that . . . ‘property damage’ has occurred or has begun to occur.” See Compl, Ex. C
at pp. 5-6.

The GL policy also contains Exclusion 2(1.), a “Damage to Your Work” exclusion See
id. at p. ll. Gulf also had an insurance policy issued by American Safety lndemnity Company
(“ASI”) immediately prior to applying for coverage with Endurance which includes a manuscript
exception to this exclusion that expressly covers liability arising from the product here at issue,
the thermal oxidizer. ln contrast, the Endurance Policy has no such exception to the exclusion
and Plaintiff" s Complaint does not contend that any such exception exists under the Endurance
Policy. The Endurance Policy was meant to preclude liability for damage to the RTO unit.

Gulf notified Defendant ASI of its claim, which ASI declined to cover under the primary
policy on the basis that the claims were for breach of contract, breach of warranty, and unjust
enrichment See id. at ll ll. ASI declined coverage under the umbrella policy stating that
damages were expected by Plaintiff. See id

l§`ndurance initially defended under a reservation of rights letter dated lanaary l?, §§i lz
then withdrew its defense on February lo, 20il hased on facts showing that Gulf is not entitled
to defense or indemnity under the Endurance Policy, See Ex. B-l at ENDURANCEOQOOGQQ-
100; ENDURANCEOOOOOSQ-QS. These facts include e-mail communication between Gulf and

the Pennsylvania Plaintiff acknowledging that Gulf failed to properly commission the R“fO

ii@§}'$'l"@l<!é 5§?52 2 §§

system on March l, 2010, multiple “Produce Quality Deficiency Reports” all dated March 25,
2010 that reference and identify multiple problems with the RTO system, and e-mails discussing
system defects with the RTO during February, March, April, and early hlay' 2010. See ici. Gulf
even offered to settle the issue with the Pennsylvania Plaintiff by entering into arbitration ld.
The policy issued by Endurance to Gulf precludes, as a matter of law, any liability coverage
under the Professional Liability policy based on (1`) Gulf s failure to disclose the possibility of the
claim during the application process and (z`z`) the fact that claim was first made before the policy
period (or that Gulf otherwise had reason to know before the policy began that a claim would be
tiled).

Similarly, Endurance is entitled to judgment as a matter of law under the General
Liability coverage part of the Endurance Policy because the Pennsylvania Complaint establishes
that Gulf was aware that the RTO unit was defective prior to Gulf applying for the Endurance
Policy. The Endurance Policy further precludes liability for damage to the RTO unit based on
other policy exclusions detailed below. Endurance has therefore withdrawn its defense and seeks
a grant of summary judgment holding that Endurance has no duty to defend or indemnify Gulf in
connection with the underlying suit.

V. ARGUl\/IENT & AUTHORITY
A. Texas Legal Standards

l. Standards for €ontract Interpretation

linder Texas law, insurance policies and indemnity agreements are contracts, and the
general rules of contract interpretation apply Citigroap lite tx Fed, ins Cor, 649 F.Bd 36?, 37l
(Sm Cir. 2011) (citing Urica cht’i las Co. ofTex. v. /lm. lndem. Co., 141 S.W._°)d 198, 202 (Tex.

2004)}; St‘nnrzons vv Li?)erry Mat? Ft're las Co., 420 Fedl Appx, 388, 39}{5‘h Cir: 20il)

lia/ali S'i'(}i\é,>’§§§§§,§

\CD

(unpublished opinion). The primary goal of contract interpretation is to give effect to “the
written expression of the parties’ intent,” See id. (citing Balandmrz v. Safeco las Co. ofAm.,
972 S.W.Zd 738, 741 (Tex. 1998)). The Court should consider the insurance contract as a whole
and interpret the language by its plain meaning, rather than interpret a provision in isolation
Sz`mmons, 420 Fed. Appx. at 391; Don’s Bldg. Supply Inc. v. OneBeacon las Co., 267 S.W.Sd
20, 23 (Tex. 2008); Accepmnce Ind. InS. CO. v. .Melvl`n Alfredo Maltez, No. 08-20288, 2009 U.S.
App. LEXlS 14174, at *8 (June 30, 2009).

When an insurance contract uses unambiguous language, the contract must be enforced
as written One Beacon lns. Co., 267 S.W.3d at 23. An insurance policy’s terms are
unambiguous if they have a definite and certain legal meaning Travelers Lloyds lns. Co. v. Pac.
Employers lns. Co., 602 F.3d 677, 681 (5th Cir. 2010). Ambiguities in insurance contracts giving
rise to two reasonable interpretations one providing and the other denying coverage, are read in
favor of the insured under the doctrine of contra proferentum. Carrz'zales v. State Fczrm Lloyds,
518 F.3d 343, 346 (5th Cir. 2008). The doctrine only applies if the contract is ambiguous Id.
The mere fact that the parties disagree regarding the extent of coverage does not create an
ambiguity Sharp v. Smte Farm Fz're & Cas. lns. CO., 115 F.3d 1258, 1261 (5th Cir. 1997).
When “the policy language has only one reasonable interpretation, then it is not ambiguous, and
courts must construe it as a matter of law.” See id (citz`rzg Fz`ess v. S:aze Furn'z Lloyds, 202
S,W.Bd ?44, 746 §Pl`exi 2006}). lite policy language here at issue is unambiguous

2. Standards for Determining the Duties to Defend and lndemnity

l::ndurance’s duty to defend arises only if the factual allegations of the pleading against
the insured are potentially covered by the policy Naz 7 Urzz`on Fz're las Co. osz`ztshurgh, PA v.

llajerchonzs Fasf Mozor Lz`nes, linc., 939 S.W.Zd l39, 141 {Tex. 1997); Forniers Tc):` Coun{y Mu!,

noesrosas<rs:_z l ll

las Co. v. Grz`jj(in, 955 S.W.2d 81, 82 (Tex. 1997). The legal theories asserted by the underlying
plaintiffs do no determine Whether or not there is a duty to defend Grz'fjin, 955 S.W.Zd at 82;
Merchanls Fast Mozor Lz`nes, 939 S.W.2d at 141. Only the facts specifically alleged in the
petition determine the defense obligation While extrinsic evidence concerning Whether an
allege act occurred during an insurance policy period generally goes to liability and not
coverage, a court may consider extrinsic evidence When the petition in the underlying suit does
no allege sufficient facts to determine vvhether those facts are covered by the policy period State
Fczrm Lloyds v. Kessler, 932 S.W.2d 732, 736 (Tex.App._Fort Worth 1996, Writ denied).

The duty to indemnify, however, is governed by the facts established in the underlying
suit. D.R. Horlon-Tex., Ltd. v. Markel Im’l lns. Co,, 300 S.W.3d 740, 744 (TeX. 2009) (quoting
Pl`ne Oaks Builders, Inc. v. Great Am. Lloyds InS. CO., 279 S.W.3d 650, 656 (TeX. 2009)). The
duty to indemnify thus “depends on Whether the actions or omissions in the underlying suit are
covered by the terms of the policy.” D.R. Horlon~Tex., le., 300 S.W.3d at 744. Under this
standard, if the underlying litigation establishes facts that are outside the policy terms, the duty to
indemnify is precluded as a matter of law.

B. Gulf’s Claims Fail As A Matter Of LaW

ln order to establish coverage under the Endurance Policy_~as Would be required for
Gulf to prevail on its declaratory relief claim-Gulf must demonstrate, at a minimum, that (z') the
potential ciaim reiating to the 'RTG thermal oxidizer Was not known to it before the poiicy
incepted and that (z'z'} the claim Was first made during the policy period if either of these facts is
not true, Endurance owes no coverage Neither of these facts is true. Gulf must also show that the
alleged liability and damages in the underlying Pennsylvania lawsuit are not covered by

exclusions in the Endurance Policy. Again, Gulf cannot do soc

t»§rsz,rs': aw~-- § §

l. Gulf is Not Entitled to Coverage Under the Endurance PL Policy
Endurance is entitled to summary judgment under the PL policy based on the following:

a. No coverage is available under the PL Policy for Gulf’S Claims
because the claims fall outside the policy period.

Endurance is entitled to summary judgment because (z`) Gulf’ s claims predate the
inception of the policy period and (z`z') Gulf failed to correctly acknowledge the potential claims
on its application for insurance With Endurance.

(l') No coverage is available because Gulf’s claims predate the
Endumnce Policy inception date.

The loss at issue is fundamentally a professional liability loss, not a “property damage”
loss, as the loss allegedly results from faulty design, according to the fact section in the
Pennsylvania Complaint. See EX. A at ll 10 (“The Agreement [betvveen Gulf and the
Pennsylvania Plaintiff] required the RTO be designed to destruct chloro-fluorocarbons as stated
in Gulf Coast’s Design Considerations.”); see id. at il 17 (“[T]he parties determined that the
reason that the RTO failed to properly function Was because Gulf Coast failed to properly design
the RTO . . .”). The two “professional negligence” counts both relate to alleged “design”
deficiencies See id. at Count V, W 52~55; Count Vl, Tl'll 56-60. lndeed, each of the remaining
causes of action is titled “Breach of Contract” (With the last cause of action titled, “Unjust
Enrichment”). Because this is a professional design claim, the loss should be analyzed only
under the Endurance PL policy§ not the Gl, policy

"fhe Pennsylvania Plaintiff filed suit against Guif in the underlying lawsuit on Mav 123
QQ_LQ. See EX. C. Endurance issued a package GL, CPL.5 and PL policy to Gulf more than two
weeks later on June 1z 201(}. See Compl. at EX. C? p. 2. The Endurance Policy has an effective

date of May 26z 2010. fnl Section l,A.§ of the Endurance Professional liability coverage part

§'i€i?§ S“§`t§?~§/é§:‘§§§.}, §

bd

expressly states that Endurance is not required to cover liability that Gulf reasonably expected to
lead to a claim. See id. at 43 (“lf on the effective date of this policy, no insured had knowledge
of any circumstances which could reasonably be expected to give rise to a claini.)

The allegations in the Pennsylvania Complaint further establish that the claims at issue
arose prior to Endurance issuing the policy on June 1z 2010. The Pennsylvania Complaint
expressly states that the RTO unit was not properly functioning despite Gulf"s attempt to repair
the equipment as early as “Februarv 262 2010.” See Ex. A at 11 16. The Pennsylvania
Complaint states that in “late Agril 201 ” Gulf concluded that the RTO was not properly
functioning because of a design defect. ld. at ll 16. The Pennsylvania Plaintiff filed its
complaint against Gulf on May 12z 2010. See Ex. D. Thus, Gulf both (z`) failed to disclose the
possibility of the claim during the application process and (z`z`) Gulf had reason to know that claim
for repairs relating to the RTO would be filed before the l\/Iay 26, 2010 effective date but never
informed Endurance of the claim. How do we know that Gulf “had reason to know” that the
claim would be filed‘? Because Gulf acknowledged its potential legal liability to the
Pennsylvania Plaintiff and offered to take the matter to arbitration as early as April 25, 2010.
See EX. B-l at ENDURANCE0000581~82.. ln fact, the Pennsylvania Plaintiff rejected Gulfs
“settlement proposal” on May 5, 2010, stating that Gult`s settlement proposal was unacceptable
because Gulf “was seeking to avoid all the contractual liability and performance guarantees that
lGuifj previously accepted 'fhat is not acceptable to us.” See i§>tt B»l at
END§RANCEMOOS<§B.

lvloreover, the retroactive effective date for the Endurance PL Policy is March 8, 2009.
See Compl., Ex. C. at p. 43. The early retroactive date does not change Gulf`s duty to disclose

its knowledge of an impending claim; There is no serious argument that Gulf knew about the

i'zr;zos'rosasaszz t 3

Pennsylvania Plaintiff’ s potential claims before the inception of the policy and during the time
period that Gulf applied for the Endurance Policy.

This conclusion is buttressed by the express allegations in the Pennsylvania Complaint
The Pennsylvania Plaintiff alleges that Gulf failed to properly commission the system on March
1, 2010. Ex. A. at l 15. The complaint further alleges that it was determined by the parties, in
late April 2010, that the RTO thermal oxidizer was not properly design to destruct chlorofluoro
carbons. Finally, the complaint alleges that on April 25, 2010 Gulf advised the Pennsylvania
Plaintiff that it was not responsible for the failed design of the RTO unit. See z`o’. at ll 20. The
record contains multiple “Product Quality Deficiency Reports,” all dated March 25, 2010 -
more than two months before the policy incepted, that expressly reference and identify specific
problems with the RTG system, including the quench box metal being too thin, the quench flow
indicator jams giving false readings, problems with the spray nozzle, switch malfunction,
scrubber re-circulator pump & motor, flow transmitter problems, PH Probe failure, tank leaks,

caustic pump undersized, numerous plumbing leaks, and the scrubber level controls failing to

automatically function See Ex. B-l at ENDURANCE0000138; ENDUlL/XNCE0000141;

ENDURANCE0000144; ENDURANCE0000147; ENDURANCEOOOOI 50;
ENDURANCE0000153; ENDURANCE0000156; ENDURANCE0000159;
ENDURANCE0000162; ENDURANCEGOGO l 65; ENDURANCE0000168;
§NDL?RANCEBQGM 7l.

lite record also includes volumes of correspondence including e»mails that expressly
reference and discuss multiple problems with the thermal oxidizer system occurring during
February, l\/larch, April, and early May, 2010. See generally Ex. B~l. This evidence is

uncontroverted Gulf’s lead employee on correcting problems with the Rl() unit, lien Rogers,

e-mailed the Pennsylvania Plaintiff on multiple occasions with proposed modifications and
repairs to the RTO. See id at ENDURANCE0000569; ENDURANCE0000583~84;
ENDURANCE0000566-68. The Pennsylvania Plaintiff sent Gulf a detailed response in an e-
mail and attached letter on April 30, 2010 outlining in the same types of problems with the RTO
unit and requesting that Gulf take immediate steps to correct the defective equipment See id.
Gulf began “documenting a time line” to defend itself by April 27, 2010. See id. at
ENDURANCE0000566-68. On April 26, 2010, a Gulf employee states that “Despite that the
design might not have been that bad, this system was still supplied with many deficiencies.” See
id at ENDURANCE0000577.

Two days earlier, on April 24, 2010, the Pennsylvania Plaintiff notified Gulf that it was
contacting an attorney regarding the claim. See id at ENDURANCE0000582. Gulfs Ken
Rogers responded on April 25, 2010, replying that Gulf would “correct the design issues at
Primal Critical Care.” See id. at ENDURANCE0000581~82. Gulf sent this e-mail after
previously sending “modification proposals” to correct the problem Id. at
ENDURANCE0000583. lnternal Gulf e-mails indicate that Gulf believed that certain
subcontractors working for Gulf “didn’t have a clue” and there was a need to modify the RTO to
make it function Id. at ENDURANCE0000027-28. Other Gulf e-mails concede in April 2010
that it had determined why the RTO and scrubber did not work by that time Problems relating
to the system as a whole were discussed between Guif and the Pennsylvania Plaintiff in Marcii
20i0. See id at ENDHRANCEGUGG§QS»%; ENDURANCEGODG'?{}Z. By l\/larch 25, 2010,
Guif s Randy Gioad concedes that the “product fell off the wails.” See éd. at

ENDURANCE0000702.

§§QSS'§"§§NM$SSSZ.Z j

wit

Gulf, in fact, requested that the Pennsylvania Plaintiff enter into arbitration to resolve
legal claims on l\/lay 5, 2010. See ici. at ENDURANCE0000563; see also
ENDURANCE00005 81 .

Thus, the record establishes that the Pennsylvania Plaintiff’s claim was made against
Gulf before the inception date of the Endurance Policy. Moreover, the record shows that Gulf
knew of the circumstances that reasonably could have been expected to give rise to the claim at
issue prior to the effective date of the policy. The pre-litigation interactions, correspondence,
technical documents, and the filing of the Pennsylvania Complaint are not contested by Gulf.

(iz) No coverage is available because Gulf failed to correctly
acknowledge the potential claims on its application for insurance
with Endurance.

Endurance is entitled to summary judgment as a matter of law because Gulf failed to
disclose its knowledge of a potential claim relating to the design and repair of the RTO unit in
the underlying Pennsylvania Lawsuit in their application for coverage See Byrd & Assocs.
PLLC v. Evansmn ms Ca, 367 F@d. Appx. 550, 551 (5“‘ cir. 2010> (unpubiished Opmi@n)? rhe
Texas lnsurance Code allows an insurer to void coverage based on a misrepresentation on an

insurance application if the misrepresentation was material to the risk and contributed to the

event on which the policy became due. See Goaverne v. Care Ri'sk Rei‘ention Group, lnc., No. 2~

 

2 in Byra, an insured-law firm filed a claim for declaratory judgment and injunctive relief against its

maipractice insorer, Evanston lnsorance Coi ("’EEC"`). 'fhe insured»iaw firm alleged that the insider breached its
contractaai obligation to defend and indemnify them in a iegal maipractice snit, id The insored*firm submitted an
appiication to EiC for malpractice insurance on November lB, 2002 See int On the app§ication, the insored»firm
indicated that it was unaware of “any act that may reasonably be expected to form the basis of a claim against
them,” The insurer~EiC issued the poiicy with an effective date of February 28, 2003, and renewed it effective the
same date in 2004 and then again in 2005 lot

The insured-firm was subsequently sued for malpractice based on acts that occurred either in 2001 or 2003
/ri’. at 553. The district court granted summary judgment to the insurer ElC, finding that regardless of whether the
facts giving rise to the claim occurred in 2001 or 2003, both “occurred before the application for the renewal
policy.” ld. Tlie court found that the insured~firm failed to disclose their knowledge of the act that formed the basis
of their claim on their application for coverage and, therefore the insurer~ElC had “no obligation to provide
coverage.” lai

session/asso z §§

07-206, 2008 U.S. Dist. LEXIS 38869, at *ll~lZ (S.D. Tex. l\/Iay l3, 2008). The Texas Supreme
Court has held that five elements must be pled and proved before an insurer may deny coverage
because of a misrepresentation on an application for insurance: (l) a representation by the
insured, (2) falsity of the representation; (3) reliance thereon by the insurer; (4) intent to deceive
by the insured, and (5) materiality of the representation Legz'orz lns. Co. v. Tex. Tirrzber Groapj
No. 3:99-€\/~0932, 2000 U.S. Dist. LEXlS 14488§ at *9 (Sept. 29, 2000) (granting summary
judgment) (citing Mayes v. Mass. Mat. Lz'fe lns. Co., 608 S.W.Zd 612, 616 (Tex. 1980)).

The Endurance PL Policy covers losses only if the claim for damages in the underlying
suit is (i) made against Gulf during the policy period or (z'z') if Gulf had no knowledge of any
circumstances which could reasonably be expected to give rise to a claim. Gulf’s application for
coverage, titled Environmental Service Providers Application (the “Application”), is dated
l\/Iarch l9, 2010. See EX. B-l at Endurance 0000031-36. There is ample evidence in the record
that Gulf knew by this time that the Pennsylvania Plaintiff had a claim, including the fact that the
Pennsylvania Complaint states that the PTO system failed to function from the date it was
installed on February 26, 2010 and Gulf failed to commission the system on l\/Iarch l, 2010. See
EX. A at jill l5-16; see generally EX. B~l. Gulf was required to disclose its knowledge of any
circumstances that could give rise to a claim:

21. In the past 3 years, has any member of your firm or a
related entity [st'c} aware of any circumstances that
could resu§t in a c§airn, suit or notice of incident being
brought against them?

lf yes, please provide full details on the same basis
as the above requirements (use additional paper if
necessary

See EX. B-l at Endurance 0000034. Despite the evidence in the record and the

allegations stated in the Pennsylvania Compliant, Gulf answered Question 2l “No.” See tall

afrsroii,s,.; i "§

Even assuming Gulf was somehow unaware of the circumstances at issueg Gulf had a duty to
supplement its application for insurance with Endurance to notify Endurance of a potential claim
or circumstances that could result in a claim but failed to do so.

lt is well-settled law that “if the answers to the questions in the [insurance] application
were untrue at the time they were given the untrue answers constituted misrepresentations.” Tex.
Tz'mber Group, 2000 U.S. Dist. LEXIS l4488, at * 9 (quoting illayes, 608 S.W.Zd at 6l6). The
PL Policy specifically excludes coverage for such loss. The undisputed and competent summary
judgment evidence shows that Gulf represented that it had no knowledge of a circumstance
giving rise to a potential claim despite the fact that the Pennsylvania Plaintiff filed suit on May
ll, 2010, some 15 days before the l\/Iay 26, 2010 effective date on the policy. See Ex. D at p. 8.
The Pennsylvania Complaint further states that Gulf was aware of the issue as early as February
2010 and concluded that the RTO unit was defectively designed in April 2010. See Ex. A at W
12, 20. Based on the allegations stated in the four-corners of the Pennsylvania Complaint,
evidence in the record, and Gulf s subsequent misrepresentations in the Application, Endurance
is not obligated to defend and indemnify Gulf and is entitled to summary judgment as a matter of
law.

b. Section III.V.I of the PL Policy Bars Coverage for Gulf’s Failure to
Provide a Functioning RT() by the Contractual Deadline.

"fhe PL Policy by its express terms states that Endurance “shall have no obligation
whatsoever"/ to defend or indemnify for §oss caused by “{a]n}t failure of the lGuifj to perform or
provide a good or service by a date stipulated in a contract with a eiienti” See Complt at E><. C, §
lll.V.l. at p. 5l. The Pennsylvania Complaint states that Guif had 30 days to commission the
RTO unit and, if commissioning failed, three months to re-cornmission. EX A at *il‘ll l3, l4, 21.

The Pennsylvania Comp§aint also cites Guif's failure to provide a properly designed RTG within

§’ii§}ij$’§`§§t\§/¢t§¢i$l 2 § §§

these contractual deadlines ]d. The damages alleged in the Pennsylvania Complaint are
expressly predicated on contractual provisions in the parties’ underlying agreement that provides
the Pennsylvania Plaintiff the right to assert damages for the entire costs of the RTO and
consequential damages resulting from Gulf' s inability to make repairs within these contractual
deadlines See id. at W 2l, 22. Under the PL Policy, a duty to defend against damages for
Gulfs failure to provide the RTO by the dates stipulated in Gulf's contract with the
Pennsylvania Plaintiff is expressly excluded Endurance is entitled to summary judgment on this
issue.
2. Gulf is Not Entitled to Coverage Under the GL Policy as a Matter of Law.
Even if the loss is characterized as one seeking to impose liability because of property
damage instead of a design defective (and it is not) and is analyzed under the Endurance GL
policy, Endurance is entitled to summary judgment based on certain policy exclusions and well-
settled Texas legal doctrine.
a. Section I.A.I.B. of the General Liability policy bars coverage because
Gulf Was aware that property damage had occurred or began to occur
before Gulf applied for coverage and prior to the effective date.
Section l.A. l .B(3) precludes coverage because Gulf was aware that the RTO unit was
damaged or that the RTO unit was not functioning before the Endurance policies’ effective
date See Compl., Ex. C, at pp. 5~6. This section states that coverage exists for “property

damage” z'“‘/only it`*`/:

(3} Prior to the poiicy period, no insured . . . , knew that the . . .
“property damage” had occurred in whole or in part lf
such a listed insured or authorized “employee” knew, prior
to the policy period, that the “bodily injury” or “property
damage” occurred, then any continuation, change or
resumption of such . . . "property damage” during or after

rrot;sror\arsasz; §§

the policy period will be deemed to have been known prior
to the policy period
See z`d.
Under the plain language of the GL Policy, the fact that Gulf knew about the alleged
“property damage” prior to applying for the Endurance Policy means that Gulf is “deemed” to
have known about the RTO unit claim prior to the policy period Accordingly, Endurance is

entitled to summary judgment

b. Endurance is entitled to summary judgment under the fortuity
doctrine.

Endurance owes no duty to defend or indemnify under the “fortuity doctrine.” See Essex
Ins. Co. v. Redtaz`l Prods., Irzc., 1998 U.S. Dist. LEXIS 18507, * (N.D. Tex. Nov. l2, 1998).
“Fortuity is an inherent requirement of all risk insurance policies.” Id. (quoting Two Pesos, Inc.
v. Gu(/`Ins. Co., 901 S.W.2d 495, 501 (Tex. App. 1995, no writ). Under the fortuity doctrine, an
insurer has no duty to defend when the insured is, or should be, aware of a loss in progress:
The fortuity doctrine . . . incorporates the “known loss” and “1oss
in progress” principles These aspects of the fortuity doctrine
focus on the proposition that insurance coverage is precluded
where the insured is, or should be aware of an ongoing loss or
known loss at the time the policy is purchased The “loss in
progress” principle is recognized as part of standard insurance law.
An insured cannot insure against something that has already
begun and which is known to have begun Texas has long
recognized that it is contrary to public policy for an insurance

company to knowingly assume a loss occurring prior to its
contract

fn". at *if}-=ii E:emphasis added). fhc linn Pesns court uitiniately concluded that the insured in
that case was not covered by an insurance po§icy for claims alleging trade dress infringement
because its wrongqu activities began prior to its purchase of the insurance See Tiro Pesos, 901

S.W.Q,d at 501. The court noted that “the purpose of insurance is to protect insureds against

ii{}i? S‘§`t",§i"§f¢ii‘,i§:§ 12 §§

unknown risks.” Id. (quoting Appalachz`an lns. Co. v. Lz`berzy Mul. lns. Co., 675 F.2d 56, 63 (3d
Cir. 1982) (emphasis added) (internal quotations omitted)).

Here, coverage for Gulf’s defective design should be precluded because the claim
constitutes a known loss or loss in progress that Gulf was aware of as early as February 2010.
See Ex. A at ‘ll‘il 16-17. Gulf cannot insure against the cost of repairs or replacement for the RTO
unit because the Pennsylvania Complaint and the record expressly shows that Gulf knew the
RTO unit was defective before applying for insurance Endurance has no duty to defend or
indemnify Gulf and is entitled to summary judgment under the fortuity doctrine

c. Exclusion 2(1.) for damage to “your work” precludes a duty to defend
or indemnify in connection with repairs to the RTO unit.

Exclusion 2(1.) in the GP policy precludes coverage for liability for property damage “to
‘your work’ arising out of it or any party of it and included in the ‘products-completed operations
hazard.”’ See Compl. at Ex. C, p. 11. This exclusion does not apply if the damaged work or the
work out of which the damage arises was performed on your behalf by a subcontract.” Id. The

Policy defines “your work” as follows:

a. “Your work”:

(1) Work or operations performed by you or on your behalf;
and

{2) Materials, parts or equipment furnished in connection with
such work or operations

b. lncludes:
(_ i`) Warranties or representations made at any time with respect
to the fitness, qiiaiityg durability, performance or use of

“your work”; and

(2} fire providing of or failure to provide warnings or
instructions

rrt'n,is"ros/rsaz22 2 t

See id. at §5(22.), p. 29.

Under this Exclusion, coverage for “property damage” to the insured’s completed work is
precluded Lamar Homes, lite v. Mid-Conri`nent Cas. Co., 242 S.W.$d 1, ll (Tex. 2007). The
Exclusion is one of several putative “business risk” or “your work” exclusions which preclude
coverage for the cost to correct “inferior workmanship by the policyholder,” such as the cost to
repair or replace the insured’s own work. See Lamar Homes, 242 S.W.Sd at 13-14; Ji`m John.s'on
Homes, lnc. v. Mi`d-Cominent Cas. Co., 244 F. Supp. 2d 706, 717 (N.D. Tex. 2003) (where the
only property damaged was the property on which insured building contractor was working,
“your work” exclusions precluded coverage); T, C. Batesori Coristr. Co. v. Lumbermens Mul.
Cas. Co., 784 S.W.2d 692, 694-95 (Tex. App._Houston [14th Dist.] 1989, writ denied) (“your
work” exclusion precluded coverage for repair and replacement costs of general contractor that
had improperly installed marble on building). These risks are treated differently because “the
insured can control the quality of the goods and services he supplies, while accidental injury to
property or persons exposes him to almost limitless liability.” T. C. Bcileson Conslr. Co., 784
S.W.2d at 694-95.

The Pennsylvania Complaint alleges damages in the form of repairs to Gulf's own
defective work, i.e., the RTO unit. And there is no evidence that the damage was caused by a
subcontractor Thus, the exception relating to subcontractors does not apply and the fixclusion
precludes defense and indemnity coverage for repair costs alleged in that suit

d. The contractual liability exclusion precludes a duty to defend or
indemnify Gulf because its liability to the Pennsylvania Plaintiff is
contractual in nature.

The GL Policy covers only “property damage” and “bodily injury” caused by an

“occurrence.” See Compl., l§x C at p. 5. The GL policyis contractual liability exclusion,

uocs visas

N
tv

Exclusion 2.b., precludes coverage for property damage “tor which the insured is obligated to
pay damages by reason ot` the assumption of liability in a contract or agreement.” Id. Exclusion
2.b. excepts from the exclusion liability for damages: “(l) That the insured would have in the
absence of a contract or agreement; or (2) Assurned in a contract or agreement that is an ‘insured
contract’ provided the . . . ‘property damagei occurs subsequent to the execution of the contract
or agreement.” ]d.
The contractual liability exclusion applies to claims that sound in contract and is not
limited to indemnity or hold harmless agreements See Gz`lbert Tex. Conslr., L.P. v.
Underwriters at Lloyd’$ London, 327 S.W.3d llS, 129-30, n. 9 (Tex. 2010) The Texas Supreme
Court stated that the exclusion,
Considered as a whole, . . . provide[s] that the policy does not
apply to bodily injury or property damage for which the insured is
obligated to pay damages by reason of the assumption of liability
in a contract or agreement, except as enumerated, specific types of
contracts called ‘insurance contracts’ and except t`or instances in
which the insured would have liability apart from the contract
Gilbert Tex. Constr., L.P., 327 S.W.Bd at 126. The Court concluded that the contractual liability
exclusion “means what it says,” and “applies when the insured assumes liability for bodily
injuries or property damages by means of the contract, unless an exclusion to the exclusion
brings a claim back into coverage or unless the insured would have liability in the absence of the
contract or agreement.” i’d. at 232
Under Gz‘foerz" Te,r. Coasrr., this exclusion precludes a duty to defend and indemnify
because the claims asserted against Gulf in the Pennsylvania Lawsuit were contractual in nature
rl`he only damages alleged against Gulf arise from the contract for the RTO unit and are limited

to contractual remedies See Ex. A at ‘§ 60¢ Thus; the exclusion precludes indemnity coverage

and the duty to defend

a<")os":“<)ss¢easz 2 §§

(l`) As a matter of law, the “absence of contract” exception does not
apply because the damage was limited to the subject matter of the
Contract.

Texas courts hold that even if tort claims are alleged against the insured, the exclusion
applies if “the only loss or damage [alleged] is to the subject matter of the contract.” See, e.g.,
Ewl`ng Conslr. Co. v. /lmerisare fmi Co., No. C-lO-256, 20ll U.S. Dist. Lexis 45827, at *lO-l2
(S.D. Tex. Apr. 28, 20l l) (Order on l\/lotions for Surnmary Judgment) (holding that allegations
of negligence in connection with defective construction of a tennis facility by insured contractor
were nevertheless excluded by the contractual liability exclusion) (citing Cem‘w'y Sw'. Co. v.
Hardscape Conslr. Specialties, Inc., 578 F.3d 262, 267 (Sth Cir. 2009) (holding that allegations
of negligence in connection with insured’s defective construction of a swimming pool facility
were excluded by the contractual liability exclusion and not within the “insured contract”
exception because damage was limited to the subject matter of the contract)).

Here, because the Pennsylvania Complaint and the record eliminates any possibility that
Gulf has liability outside the scope of its contractual obligations, as a matter of law, the “absence
of contract” exception does not apply and the contractual liability exclusion precludes a duty to
defend or indemnify Gulf. There are no damages alleged in the Pennsylvania Complaint that do
not sound in contract See, e.g., Ex. A at ll 60. The Pennsylvania Plaintiff even stated it would
not agree to Gult`s proposal for arbitration because Gulf"s proposal would allow it to avoid “all
the contractual liability and performance guarantees.” See Exf B-l at ENDUKANCEQ@@SSSE.

lo the contrary, the Pennsylvania Complaint alleges damages for money paid under the
contract, expenses to cure the breach of contract and purchase a new P'l@ scrubber, repair
damages and expenses "The nature of the injury most often determines which duty or duties are

breached When the injury is only the economic loss to the subject of a contract itself the action

l'ii}lj§§'§‘<§ré/~“§i§§i§ 243

sounds in contract alone." Southweslern Bell Tel. Co. v. DeLam/zey, 809 S.W.Zd at 495 (quoting
Jz`m Walz‘er Homes, lnc. t>. Reecl, 7ll S.W.Zd 6l7, 618 (Tex.l986)); Deuron v, Um`ted Mol)z`le
Nerworks, L.P., 926 S.W.2d 756, 760. Here, the alleged damages in the Pennsylvania Complaint
are for economic loss to the subject of the contract_the damages are quintessentially “benefit of
the bargain” and “out of pocket” or restitutionary damages under Texas law. See, e.g., Tczcon
ll/lecham`eal Contracz‘ors, lne. v. Grcmt Sheer iMelal, lnc., 889 S.W.2d 666, 670 (Tex. App.»~
Houston [l¢lth Dist.] 1994, writ denied) (characterizing benefit of the bargain damages as those
designed to place the injured party in the same economic position that it would have occupied if
the breaching party had performed the contract). On this record, the “absence of a contract”
exception does not apply and Endurance is entitled to summary judgment on this issue as a
matter of law.

(il) T he “insured eontract” exception does not apply as a matter of
law because Gulf did not assume the liability of another parly.

The contractual liability exclusion’s exception for liability “assumed in a contract or
agreement that is an ‘insured contract”’ does not apply, as a matter of law. The definition of
“insured contract” in the GL policy includes:

That part of any other contract or agreement pertaining to your

business . . . under which you assume the tort liability of another

party to pay for . . . ‘property damage’ to a third person or

organization, provided the . . . ‘property damage’ is caused in

whole or in pait, by you or by those acting on your behalf
See Compl., Ex. C at §V.§'.f., p. 251 The “insured contract” exception plainly states that it
applies only to the insured’s liability under an indemnity or hold harmless agreement See
G.ill:>ert Tex. Consrr., 327 S.WBd at l28, iBll~:i (“the insured~contract exception brings back

into coverage contracts in which the insured assumes the tort liability of another” under

“specified types of contracts . . t including indemnity agreements.”), ilere, Gult`s liability to the

i'li}`§) §§ §}N/§::‘~:`:§E.Z

rul
th

Pennsylvania Plaintiff is based on a direct contract Therefore, there is no exclusion exception as
a matter of law.

e. Exclusion 2.m precludes a duty to defend or indemnify for damages as
a matter of law.

Exclusion 2.m. is titled, “Damage to lmpaired Property or Property Not Physically
lnjured,” and precludes defense and indemnity coverage for repair costs. Exclusion 2.m
precludes coverage for property damage “to ‘impaired property’ or property that has not been
physically injured, arising out of . . . a defect, deficiency, inadequacy or dangerous condition in .
. . “your work”; or . . . a delay or failure by you or anyone acting on your behalf to perform a
contract or agreement in accordance with its terms.” See Compl., Ex. C at p. ll. §I.A.Z.m. The
policy defines the term “impaired property” as:

[T]angible property, other than “your product” or “your work”,
that cannot be used or is less useful because:

a. lt incorporates “your product” or “your work” that is
known or thought to be defective, deficient, inadequate or
dangerous; or

b. You have failed to fulfill the terms of the contract or
agreement;
lf such property can be restored to use by:

lf such property can be repaired by:

a, The repair, replacementt adjustment or removal of c‘your
product” or “your work”; or

b. Yoar fulfilling the terms of the contract or agreement
lai at 24~2§.
Exclusion 2.m applies to loss of use claims for tangible property that has not been
physically injured Lermar Corp. v, Great /lm. las Co,, 200 S.W.}d 65l, 687 (Tex. App.'

Houston fl£l§h Dist.j 2006, pet denied); Adnn`rol las Col v, Lr`ttle Bz`g lack Pr'peline Co. lacy 523

ii§.}c ot&l\i£§s‘:: §§

F. Supp. 2d 524 (W.D. Tex. 2007) (exclusion precluded coverage for diminution in value claims
arising out of insured subcontractor’s defective work in turning off natural gas service to a
mobile home park because no property had been physically injured). Exclusion 2.m. applies “to
both ‘impaired property’ or ‘property that has not been physically injured’.” Mz'd-Contz`nent Cas.
Co. v, Cama[ey Energy Co., Inc., 364 F. Supp. 2d 600, 608 (N.D. Tex. 2005) (holding that
exclusion 2.m. applied, even if the damage was not to “impaired property,” to the insureds’
negligent drilling of an oil well which crossed into another leasehold, causing plaintiffs to lose an
oil/ gas leasehold).

The RTO unit was not alleged to be physically injured, it was merely defectively
designed and constructed, causing the Pennsylvania Plaintiff to lose use of it until repairs were
made to the RT() unit. Thus, Exclusion 2.m. precludes coverage for repair costs to the RTO unit,
Under the allegations in the Pennsylvania Complaint, the RTO unit was “impaired property”
because, during repairs, it was “tangible property” that could not “be used or [was] less useful
because it incorporated” Gulf's “defective, deficient, inadequate or dangerous” work.
Accordingly, Gulf “failed to fulfill the terms of the contract or agreement” requiring it to repair
its defective work and no coverage exists

f. The Endurance Policy precludes coverage for attorneys’ fees as a
matter of law.

The Endurance Poiicy covers only amounts Gulf must pay “as damages”' because of
g‘;:ire§:ierty damage” caused by an “cccurrence.” See Exr at p, 28 Any such attorney/is fees
awarded to the Pennsylvania Piaintiff wouid net satisfy those requirements as a matter of lavr.

First, any atterney’s fees are excluded from coverage because they are net payable "‘as
damages” as required by the insuring clause Brzt'ler & Biniorz v. Harrford Lfr)ya"s las CQ., 957

S.W.Zd 566, 570 ('l`ex. App.-_Heuston flaw Dist.} i995, writ denied`}. gas a generai rule,

:~zr;iesies/:s<)s:z

t\.)
'-i.`t

attorneys’ fees awarded to a complaining party and against an insured are not “damages” under
standard liability parties See, e.g., City ofSandusk)/, Uhio v. Coregz`s [ns. Co., 192 Fed. Appx.
355 (6th Cir. 2006) (unpublished opinion).

Second, attorneys’ fees incurred by a third party and awarded against the insured are not
“costs” under the Supplementary Payments provision See Compl., Ex. C, § l.d at p. 6-7. Nor
do such third party attorneys’ fees qualify as “costs” under Section l.e. of the Endurance Policy,
which provides for payment for costs taxed against the insured in the suit. See, e.g., CIM Im‘.
Corp. v. Masamz`isu, 74 F. Supp. 2d 975 (D. Haw. 1999) (attorney fees awarded against insured
were not within liability insurance policy’s coverage provision for “[a]ll costs taxed against the
insured in any suit we defend.”). Under these sections, attorneys’ fees are not covered as a
matter of law.

IV. C()NCLUSION

Defendant Endurance American Specialty lnsurance Company (“Endurance”) is entitled
to summary judgment on all claims asserted by Plaintiff Gulf Coast Environmental Systems, lnc.
(“Gulf’) There is no dispute that defendant American Safety lndemnity Company (“ASI”)
issued a policy covering the period from March 8, 2009 to l\/lay 26, 2010, the time period in
which Gult` s claims arose. The allegations in the Pennsylvania Complaint show that the claims
arose in the underlying iawsuit as eariy as February 26§ 20107 with additional milestone dates in
March and April 20l0, well in advance of the inception ofthe Endurance Policy

fine dates contained in the Pennsyivania Complaint are reinforced by the record: which
shows that Gulf offered to settle claims against it in the underlying Pennsylvania Lavvsuit in
,»"i\pril and early May 2010, even requesting that the parties arbitrate their dispute some three

Weel<s prior to the l\/lay 2§, 2010 inception date for the Endurance policy Gtiif"s ciaim is made

itoizsioi>i<:: 25

before this period, therefore Endurance owes no duty to defend or indemnify This conclusion is
further established by the fact that Gulf incorrectly stated on its application for insurance that it
knew of no pending claims when the evidence in the record conclusively shows otherwise The
Endurance policy precludes coverage for claims that were anticipated before the policy incepted
and Texas law precludes coverage for a “known loss.”

Moreover, coverage under the Endurance GL policy is precluded by a host of exceptions
and most fundamentally by the undisputed fact that Gulf’ s claim is rooted in professional
negligence, not property damage ln sum, Gulf' s claims under the Endurance PL Policy and the
GL Policy are precluded as a matter of law. Accordingly, Gulf is entitled to summary judgment

DATED and FlLED on l\/larch l6, 2012.

Respectfully submitted,

/s/ Steven B. Harris

SQUIRE SANDERS & DEMPSEY (US) LLP
Steven B. Harris (TBN 09093200)
Southern District lD No. 3920

Eric J. Cassidy (TBN 2403 l 807)
Southern District ID No. 30001
Amanda L. Dodds (TBN 24060935)
Southern District lD No. 1155447
6200 Chase lower

600 Travis Street

Houston, Texas 77002

Tel¢: 7l3,546.5850

Fax: 713.546.5830

Of Counsei:

Ethan A. Miiier

SQUIRE, SANDERS & DEMPSEY (US} LLP
275 Battery Street, Suite 2600

San Francisco, California 94l l l

Tel: 415.954.0200

Fax: 4l5..393.9387

ii©§;sros:;rs<§s§z 29

COUNSEL FOR DEFENDANT
ENDURANCE AMERICAN SPEClALTY
lNSURANCE COMPANY

noisrowm 30

CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing was served on counsel of
record via the U.S.D.C., Southern District of Texas, Electronic Case Filing system this 16th day
of March, 2012:

Charles S. Fuquay

Jones, Allen & Fuquay, L,L.P.

8828 Greenville Avenue

Dallas, Texas 75243

Cotrnselfor Plaintz`jj”GulfCoasl‘ Environmental Systems) LLC

Lauren N. Pierce

Cooper & Scully, P.C.

Founders Square

900 Jackson Street, Suite 100

Dallas, Texas 75202

C ounsel for Defendant Amerz`ccm Safety lndemnity Company

/s/ Steven B. Harris
Steven B. Harris

iir>ns';’on/.tsaszz 3 §

